                 IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

 Food Lion, LLC, and Maryland and Virginia
 Milk Producers Cooperative Association,
 Inc.,                                     Case No. 1:20-cv-00442

         Plaintiffs,

 v.

 Dairy Farmers of America, Inc.,

         Defendants.




DEFENDANT DAIRY FARMERS OF AMERICA, INC.’S REPLY IN SUPPORT
    OF ITS MOTION TO DISMISS FOR LACK OF SUBJECT-MATTER
JURISDICTION AND FAILURE TO STATE A CLAIM UPON WHICH RELIEF
                       CAN BE GRANTED




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                                      INTRODUCTION

         Plaintiffs’ Opposition confirms this case is not about promoting competition, but

rather, attempting to use antitrust law to shield Plaintiffs from competition. DFA bought

the Carolina Plants1 after review by the Department of Justice, following a transparent

bidding process in which the Bankruptcy Court recognized that reorganization was not

feasible to keep these plants operating. The acquisition saved the Carolina Plants as a home

for farmer milk (and not just DFA farmer milk), and it preserved Processed Milk

production that might have otherwise been lost. That is plainly procompetitive.

         Plaintiffs’ Complaint and Opposition fail in four key respects:

         1.     Plaintiffs fail to satisfy constitutional standing requirements because they do

not show that their alleged speculative future injury is certainly impending. Plaintiffs

suggest that their bar is low for showing antitrust injury because they seek only injunctive

relief, but that is not the law. Plaintiffs then assert that the Court must accept as true all of

their allegations—even implausible and speculative allegations. This too is not the law.

         2.     Plaintiffs do not dispute that DFA’s acquisition of the Carolina Plants

changed nothing in the market. DFA supplied raw milk to the Carolina Plants before the

acquisition and continues to do so. Because DFA had no plants in the Carolinas prior to

the acquisition, there is no change in the horizontal concentration of milk processors.

Plaintiffs concede that whatever “foreclosure” might occur in the future is the same alleged




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    DFA uses the same defined terms as in its opening brief.


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“foreclosure” that has existed for years. Because nothing has changed, there is no injury

to competition.

       3.     Plaintiffs’ response to the failing firm defense ignores a key case cited by

DFA by arguing that discovery is necessary. Plaintiffs, however, do not identify the

discovery they claim to need. Rather, they urge this Court to re-litigate Dean’s bankruptcy

and the bid process, while excusing Plaintiffs’ failure to appeal from the Bankruptcy

Court’s rulings.

       4.     Although Plaintiffs plead a two-state geographic market, they concede that

their market definition must include Virginia and Georgia. That concession confirms the

implausibility of their claimed market. As the foundation of their case, an implausible

market justifies dismissal.


   I. Plaintiffs’ Speculative Future Claimed Injury Cannot Establish Constitutional
      or Antitrust Standing.

       Plaintiffs must establish Article III standing. See ECF 31 (“DFA Br.”) at 7-9.

Rather than respond to DFA’s argument that they have failed to allege the “certainly

impending” injury required by Article III, Plaintiffs address Article III’s standing

requirements in a single footnote. That footnote asserts (incorrectly) that challenges under

Article III are “more properly viewed as encompassed by and built into the antitrust injury

requirements under the Clayton Act.” ECF 41 (“Opp.”) at 5, n.2. Plaintiffs’ response is

insufficient and actually concedes DFA’s argument. See Hadley v. City of Mebane, No.

1:18CV366, 2020 U.S. Dist. LEXIS 55891, at *20-21 (M.D.N.C. Mar. 31, 2020) (failure



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to respond to arguments “with anything but conclusory statements unsupported by legal

authority” concedes those arguments).

       Nowhere do Plaintiffs point to allegations, much less non-conclusory ones, that set

forth “certainly impending” injury. Clapper v. Amnesty Int’l USA, 568 U.S. 398, 422 (2013)

(plaintiffs seeking injunctive and declaratory relief lacked Article III standing because they

could not “demonstrate that the future injury they purportedly fear is certainly

impending…”). Plaintiffs attempt to distinguish Sureshot Golf Ventures v. Topgolf Int’l,

Inc., 754 F. App’x 235, 241 (5th Cir. 2018), cert. denied, 139 S. Ct. 1330, a highly

analogous vertical merger “foreclosure” case (see DFA Br. at 7-8), on the basis that it

involved damages rather than injunctive relief.           But constitutional requirements of

“certainly impending” injury apply with equal force where no damages are sought, as

Clapper confirms. See 568 U.S. at 401; see also DFA Br. at 7, 9 (citing Clapper).

       Rather than address the requirement of certainly impending injury, Plaintiffs instead

conflate Article III standing with antitrust standing. Plaintiffs do not cite (and DFA is

unaware of) any Fourth Circuit decision collapsing the two concepts. See Jemsek v. N.C.

Med. Bd., No. 5:16-CV-59-D, 2017 U.S. Dist. LEXIS 23570, at *29 n.3 (E.D.N.C. Feb. 20,

2017) (plaintiff was incorrect to respond to argument regarding Article III standing by

arguing he has antitrust standing); DataCell Ehf v. Visa, Inc., No. 1:14-cv-1658

(GBL/TCB), 2015 U.S. Dist. LEXIS 100494, at *14 (E.D. Va. July 30, 2015) (analyzing

Article III standing separately from antitrust injury).




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       Plaintiffs point to dicta in Novell, Inc. v. Microsoft Corp., 505 F.3d 302 (4th Cir.

2007), for the proposition that discussion of antitrust standing obviates the need for a

discussion of Article III injury requirements. Nothing in Novell suggests that in a case

seeking prospective relief, Plaintiffs need not show injury is “certainly impending.” Such

a holding would be at odds with other circuits. See, e.g., In re New Motor Vehicles

Canadian Exp. Antitrust Litig., 522 F.3d 6, 14 (1st Cir. 2008) (“Section 16 [of the Clayton

Act]’s requirement of ‘threatened injury,’ 15 U.S.C. § 26, dovetails with Article III’s

requirement that in order to obtain forward-looking relief, a plaintiff must face a threat of

injury that is both real and immediate, not conjectural or hypothetical.”) (internal quotation

marks omitted). Moreover, it makes no sense to construe the Clayton Act as lowering the

threshold for Article III standing. See Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1547-48

(2016) (“Congress cannot erase Article III’s standing requirements”).

       In addition to the Constitutional standing requirement, Plaintiffs must also allege a

threatened antitrust injury—that is, an injury to competition. DFA Br. at 9-12. “[U]nder

both § 16 [for injunctions] and § 4 [for damages] the plaintiff must still allege an injury of

the type the antitrust laws were designed to prevent.” Cargill, Inc. v. Monfort of Colo.,

Inc., 479 U.S. 104, 111-12 (1986) (Clayton Act does not permit injunctions “against a

threatened injury for which [plaintiff] would not be entitled to compensation if the injury

actually occurred.”).

       Plaintiffs assert that under DFA’s view “only an injury that has already resulted in

damages can violate antitrust law.” Opp. at 5, n.3. This misconstrues DFA’s argument.



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Consistent with Supreme Court precedent, DFA contends that the threatened injury must

be the type of injury the antitrust laws were designed to prevent. See DFA Br. at 10-12.

Rather than responding, Plaintiffs build a strawman, claiming that DFA asserts “that

neither a competitor nor a customer has standing.” Opp. at 11. This is simply incorrect—

the issue is not whether some competitor or customer could have antitrust standing, but

whether the Plaintiffs’ allegations of antitrust injury are sufficiently plausible to give them

antitrust standing. As discussed further in Part II below, Plaintiffs’ allegations here are not.

       Plaintiffs insist that their allegations of foreclosure and injury must be presumed

true, even going so far as to say that Plaintiffs’ “predictions” regarding future injury cannot

be contested on a motion to dismiss. Opp. at 11. However, this Court need not accept as

true “unwarranted inferences” or “conclusory and speculative allegations.” Hicks v. Mount

Airy-Surry Cnty. Airport Auth., No. 1:15-CV-38, 2015 U.S. Dist. LEXIS 164833, at *23

(M.D.N.C. Dec. 9, 2015).        And courts routinely dismiss merger challenges seeking

injunctive relief where a plaintiff fails to state a plausible cause of action. See, e.g., Dehoog

v. Anheuser-Busch InBev SA/NV, 899 F.3d 758, 765 (9th Cir. 2018) (affirming dismissal

of merger challenge seeking injunctive relief because speculative allegations did not

plausibly allege anticompetitive effects); Moore Corp. v. Wallace Comput. Servs., 907 F.

Supp. 1545, 1567 (D. Del. 1995).

       Plaintiffs’ predictions of future harm are speculative and rely on guesses about the

conduct of third parties and unknown potential buyers of the Carolina Plants (and whether

they would have operated the Carolina Plants in the same manner and would have



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considered, much less accepted, a MDVA bid).           This Court need not accept such

speculative allegations as true.


    II. Plaintiffs’ “Foreclosure” Theories Are Not Economically Plausible.

       “On a motion to dismiss in an antitrust case, a court must determine whether an

antitrust claim is ‘plausible’ in light of basic economic principles.” William O. Gilley

Enterprises, Inc. v. Atl. Richfield Co., 588 F.3d 659, 662 (9th Cir. 2009) (emphasis added).

Here, neither Plaintiffs’ theory that (1) DFA’s acquisition will foreclose MDVA from milk

processor customers (“customer foreclosure”) nor that (2) it will result in DFA denying

raw milk to other milk processors (“input foreclosure”) is economically plausible.

       Plaintiffs’ “customer foreclosure” theory as to MDVA fails for the simple reason

that MDVA alleges it was already foreclosed from the Carolina Plants prior to the

acquisition. 2 But MDVA’s alleged longstanding foreclosure from a single customer

(Dean) is not foreclosure from the market, as evidenced by MDVA’s continued operation

in the market, and its own market share calculations that show its raw milk production in

the Carolinas is lower than the volume of processing capacity available from non-Dean

plants. See S.W.B. New Eng., Inc. v. R.A.B. Food Grp., LLC, 2008 U.S. Dist. LEXIS 14892,

at *15-16 (S.D.N.Y. Feb. 27, 2008) (no antitrust injury where “injury was caused by the

manufacturer’s decision to terminate their relationship, something the manufacturer could

have just as well done without having monopoly power”).


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  This in and of itself defeats any assertion that an injunction is warranted: if MDVA has
suffered harm, it is not due to DFA’s acquisition of the Carolina Plants.


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       Plaintiffs’ “input foreclosure” theory as to Food Lion (see Opp. at 9-10) makes even

less economic sense. Plaintiffs do not attempt to explain how DFA raising its raw milk

prices or refusing to sell to the three other plants in the Carolinas would increase prices of

Processed Milk when MDVA is, and has for some time now, supplied all of these plants.

Further, the alleged injury to Food Lion, even if it were plausible, creates a contradiction

because that injury would actually benefit MDVA.3 In other words, if DFA attempts to

raise prices, MDVA will either also increase prices, or will have the opportunity to charge

less and capture more business, both of which are in MDVA’s interest. This is not a typical

merger challenge where a merger results in increased market power with obvious likely

effects on competition in the market—in this case, neither alleged relevant product’s

market concentration was affected.

       Plaintiffs’ reliance on Sprint Nextel Corp. v. AT&T, Inc., 821 F. Supp. 2d 308, 321

(D.D.C. 2011), is also unavailing. Plaintiffs cite the portion of that case dealing with the

horizontal aspects of a merger between AT&T and T-Mobile. See id. at 319-329.4


3
  Plaintiffs claim DFA would not charge higher prices until MDVA is “sufficiently
weakened” (Opp. at 9-10, n.6), but this too is speculation. MDVA only alleges it may stop
supplying raw milk to North and South Carolina plants (ECF-1 ¶116), not cease all
operations. If DFA charged supracompetitive prices in the future, MDVA would still be
operating in Maryland and Virginia, and customers seeking competitive prices would
presumably turn to MDVA, strengthening MDVA’s position again in the Carolinas and
lowering prices to competitive levels. In light of this, DFA would have no incentive to
charge supracompetitive prices. This all also ignores that DFA and MDVA are not the
only suppliers of raw milk in the Carolinas.
4
 The court allowed a foreclosure claim from a roaming services purchaser, but that
customer bought services from T-Mobile and would lose that source post-merger. Id. at



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       Finally, Plaintiff’s reliance on Brown Shoe is misplaced. Brown Shoe was decided

nearly 60 years ago and much in merger jurisprudence and policy has changed since then.

See Areeda & Hovenkamp, Antitrust Law: An Analysis of Antitrust Principles and Their

Application §1000a (observing that “the courts historically took a severe approach to

vertical mergers—much more severe than was warranted by any acceptable economic

theory of competitive harm” and that “[t]oday it is almost a commonplace that these

historical results cannot stand close scrutiny.”).

       Accordingly, although Brown Shoe remains widely cited for some general

propositions of antitrust law, its emphasis on “the maintenance of fragmented industries

and markets” even when it results in “higher costs and prices,” 370 U.S. at 344, has been

out of favor since at least the 1980s. See, e.g., Hosp. Corp. of Am. v. F.T.C., 807 F.2d 1381,

1386 (7th Cir. 1986) (doubting the “continued vitality of such cases as Brown Shoe” in

light of cases where “the Supreme Court… has said repeatedly that the economic concept

of competition, rather than any desire to preserve rivals as such, is the lodestar that shall

guide the contemporary application of the antitrust laws…”). That is particularly true in

the context of vertical mergers, which are recognized as generally pro-competitive. See

United States v. AT&T Inc., 310 F. Supp. 3d 161, 193 (D.D.C. 2018).




334. Here, Plaintiffs concede that they did not sell to or buy from Dean pre-merger, so
they do not lose access to anything.


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    III. Plaintiffs Attempt to Sidestep DFA’s Failing Firm Defense Rather Than
         Addressing It Directly.

        Plaintiffs’ primary argument regarding the failing firm doctrine (“Doctrine”) is that

it should not be decided on a motion to dismiss. Plaintiffs do not respond to Granader v.

Public Bank, 281 F. Supp. 120, 123 (E.D. Mich. 1967), aff’d, 417 F.2d 75 (6th Cir. 1969),

cert. denied, 397 U.S. 1065 (1970). In Granader, a district court concluded at the motion

to dismiss stage that a state court’s factual conclusions in a receivership proceeding had

already determined the factual issues underpinning the defense.5 Granader, 281 F. Supp.

at 123. Thus, prior to discovery, the court granted summary judgment to Defendants,

explaining that “the plaintiffs may not use this court to attack the findings of the Circuit

Court.” Id. The Sixth Circuit affirmed, concluding that the plaintiff was estopped from

denying the receivership court’s factual findings, which were dispositive of the failing

company defense. Granader, 417 F.2d at 81. The same logic applies here and provides a

complete defense to Plaintiffs’ merger challenge.6

        Plaintiffs’ assertion that DFA must establish a dim prospect of reorganizing in

bankruptcy for the Doctrine to apply (see Opp. at 16) is incorrect. “The weight of authority

suggests that dim prospects for bankruptcy reorganization are not essential to successful



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  Plaintiffs claim DFA’s argument is “misleading” because “the bankruptcy court never
discussed the failing company defense.” Opp. at 16. But DFA never suggested the
Bankruptcy Court arrived at legal conclusions regarding the Doctrine. As in Granader,
the Bankruptcy Court made findings of fact that establish the Doctrine’s applicability.
6
 Plaintiffs do not dispute that this Court can take judicial notice of the Bankruptcy Court’s
determinations.


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assertion of the failing company defense.” United States v. Black & Decker Mfg. Co., 430

F. Supp. 729, 778 (D. Md. 1976). Regardless, although a committee attempted to craft a

reorganization plan, no feasible reorganization plan emerged. See Bankr. Ct. Dkt. 1457

(Committee’s withdrawal of objection). Plaintiffs tacitly acknowledge this, claiming the

Carolina Plants would have been sold out of bankruptcy even if DFA did not purchase

them. Opp. at 8, n.5.

       Plaintiffs claim that because others (including MDVA) placed bids for some plants

purchased by DFA, there were other available purchasers for Dean.7 Opp. at 17. But those

bids were for individual Dean assets and would not keep Dean largely operational, contrary

to the Doctrine’s goal of avoiding a liquidation (i.e., Plaintiffs’ desired piecemeal sale of

assets), even if the result is an anticompetitive acquisition. See United States v. Gen.

Dynamics Corp., 415 U.S. 486, 507 (1974).

       Plaintiffs’ complaints about the procedures ordered and used by the Bankruptcy

Court come too late. See Opp. at 17-18. Plaintiffs’ process objections were heard and

rejected, and Plaintiffs chose not to appeal, waiving those issues. DFA Br. at 19. Plaintiffs

further fail to explain what discovery could demonstrate that the Bankruptcy Court was

incorrect in its factual findings that coincide with the two elements of the Doctrine: that




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  Plaintiffs also claim that Borden, another dairy company in bankruptcy, could have
merged with Dean—but no proper bid was submitted to the Bankruptcy Court. See Opp.
at 17.


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Dean would fail absent DFA’s acquisition of most of its assets, and that the sale to DFA

should proceed given the absence of other bidders for substantially all of Dean’s assets.

       The Bankruptcy Court’s reservation of Plaintiffs’ rights to bring an antitrust action

does not make the Bankruptcy Court’s factual findings any less binding or impair any of

DFA’s defenses. Opp. at 16. The Bankruptcy Court simply stated that its order did not

“operate to impair, prejudice, or otherwise abrogate the rights (if any) of [Plaintiffs]… to

challenge the Sale Transaction under the antitrust laws...” ECF 1, ¶93 (emphasis added).

The reservation is akin to a tolling agreement; it preserved Plaintiffs’ right to file suit, but

has no bearing on DFA’s failing company defense or the applicability of the Bankruptcy

Court’s factual findings to that defense.


 IV. Plaintiffs Fail to Plead a Plausible Geographic Market.

       Plaintiffs insist that the relevant geographic market is a factual issue and that their

allegations in support of their narrow geographic market must be “presumed true for

purposes of this motion” regardless of plausibility. Opp. at 19. Plaintiffs also claim their

alleged market has no “glaring deficiencies” (id.), but fail to meaningfully distinguish their

two-state market from the implausibly narrow markets other courts have deemed

insufficient to survive a motion to dismiss. DFA Br. at 20-21.

       Plaintiffs then go on to directly contradict their Complaint’s alleged relevant

geographic market in a footnote, stating that some producers and customers included in

their relevant market “will likely be located in Virginia and Georgia.” Opp. at 21, n.13.

This is at odds with Plaintiffs’ Complaint, which consistently limits Plaintiffs’ alleged


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geographic market to North and South Carolina. See, e.g., ECF 1 ¶¶21 (relevant market

“for both the supply of raw milk and its processing and co-packing consists of the milk

processing plants in North and South Carolina.”), 27 (hypothetical monopolist of Processed

Milk in North and South Carolina could impose a SSNIP), 64-72 (market shares based only

on North and South Carolina).

       Despite this concession, Plaintiffs do not explain why the Complaint discusses only

the processing plants located in North and South Carolina when discussing the market, and

does not include MDVA’s processing facility right across the border in Virginia. See ECF

1 ¶ 25, 69, 72-73, 79-80, 85. Plaintiffs also never address the conflict between their alleged

market and their allegations regarding Food Lion patronizing MDVA’s Virginia plant.

DFA Br. at 22. Regardless, Plaintiffs cannot amend their alleged geographic market

definition through their brief. See Zachair, Ltd. v. Driggs, 965 F. Supp. 741, 748 n.4 (D.

Md. 1997) (a plaintiff “cannot, through the use of motion briefs, amend the complaint”),

aff’d, 141 F.3d 1162 (4th Cir. 1998).




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                                     CONCLUSION

      For these reasons, and the reasons stated in DFA’s opening brief, Plaintiffs’ claims

should be dismissed.



Date: July 14, 2020                      Respectfully submitted,


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            CERTIFICATE OF COMPLIANCE WITH WORD COUNT

        I hereby certify that the foregoing brief complies with the word limits in Local Rule

7.3.

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